              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         BRYSON CITY DIVISION
                                2:06CR4

UNITED STATES OF AMERICA,                                 )              THIRD
                                                          )              SCREENING
Vs.                                                       )              ORDER
                                                          )
TERENCE HOWARD ROACH.                                     )
__________________________________                        )

       THIS MATTER is before the court upon defendant’s Revised Motion to Suppress

(#23) and the government’s Response (#25). In that response, the government requests that

the evidentiary hearing be cancelled inasmuch as the affidavit submitted in support of the

Criminal Complaint in 2:06mj5 shows, objectively, that Special Agent Lando had probable

cause to effectuate the arrest of defendant even if he did not intend to arrest defendant prior

to the interview. Response, at 2. While it might be logical to assume that the affidavit was

written as a chronology, review of the affidavit, however, does not indicate on what dates

Special Agent Lando discovered such facts or, for that matter, which day he interviewed

defendant. Such a time line is necessary for the undersigned to conduct a proper review of

defendant’s motion. In addition, defendant has raised as a sub-contention the issue of

allegedly not taking him before a judicial officer in a timely fashion. Such an issue requires

a determination of the precise time defendant was purportedly taken into custody, the precise

warnings he was provided, and the precise time he allegedly confessed. See 18 U.S.C. §

3501(b) & (c). While not controlling and not identical to the facts and situation in this case,

the undersigned has found United States v. Baxter, 1986 WL 15583 (D.Neb. 1986) helpful




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inasmuch as it dealt with an unintended arrest and confession in Indian country and a method

for analysis under both the fifth an fourth amendments. The government’s request to cancel

the hearing will be denied.

                                         ORDER

       IT IS, THEREFORE, ORDERED that the government’s request to cancel the

evidentiary hearing is DENIED.



                                                 Signed: March 21, 2006




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